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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 A.K., by and through her parent C.K., et
 al.,

                        Plaintiff,                        CIVIL ACTION
                                                          NO. 25-294
        v.

 COUNCIL ROCK SCHOOL DISTRICT, et
 al.,

                        Defendants.


                                         ORDER

       AND NOW, this 17th day of April, 2025, upon consideration of the Defendants’

Motions to Dismiss, (ECF Nos. 6 & 8), Plaintiffs’ Response, (ECF No. 14), and

Defendant Council Rock School District’s Reply, (ECF No. 16), it is ORDERED that

Defendants’ Motions are GRANTED and Plaintiffs’ Complaint is DISMISSED without

prejudice for lack of subject matter jurisdiction.



                                                 BY THE COURT:




                                                 /s/ Gerald J. Pappert
                                                 GERALD J. PAPPERT, J.




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